                         UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                       3:11-cr-3

UNITED STATES OF AMERICA                  )
                                          )
                                          )
            v.                            )             ORDER
                                          )
                                          )
MONWAZEE RAYMOND BOSTON (16)              )
__________________________________________)


       THIS MATTER is before the Court upon the Government’s Motion to dismiss the

Indictment without prejudice as to Monwazee Raymond Boston, pursuant to Fed. R. Crim. P.

48(a). (Doc. No. 235).

       IT IS ORDERED that the Government’s motion is GRANTED and the Indictment

against Monwazee Raymond Boston is dismissed without prejudice.



                                                  Signed: January 5, 2012




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